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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS




 JOHN DOE,

                    Plaintiff                                     No. 1:23-cv-12077-WGY

                  v.

 UNIVERSITY OF MASSACHUSETTS,
 TRUSTEES OF THE UNIVERSITY OF
 MASSACHUSETTS, HANNAH MONBLEAU, in
 her official and individual capacities, KATE
 LEGEE, in her official and individual capacities,
 ESMERALDA LEVESQUE, a/k/a ESMERALDA
 Mendez, in her official and individual capacities,
 ADAM DUNBAR in his official and individual
 capacities, BRETT SOKOLOW,

                    Defendants


PLAINTIFF JOHN DOE’S MOTION FOR A PRELIMINARY INJUNCTION AGAINST
            UNIVERSITY OF MASSACHUSETTS AND TRUSTEES

       Plaintiff, John Doe, by and through undersigned counsel, respectfully moves this Court

pursuant to Fed. R. Civ. P. Rule 65 for preliminary relief under Count I of his Complaint for

deprivation of his First Amendment rights under color of state law in violation of 42 U.S.C. §

1983 and the Fourteenth Amendment. Plaintiff respectfully moves this Court for a preliminary

injunction requiring the University of Massachusetts and the Trustees of the University of

Massachusetts to reinstate Plaintiff’s full student status, room, and board at the University of

Massachusetts campus in Lowell, Massachusetts (UMass Lowell) until the Court rules on the

merits of the instant Complaint. Plaintiff also respectfully moves this Court to preliminarily

enjoin the University of Massachusetts from reporting its finding of sexual misconduct by
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                          Plaintiff’s Motion for a Preliminary Injunction


Plaintiff to any inquiring parties when background checks are conducted, and from requiring

Plaintiff to complete “consent training” prior to registering for future classes. In support of this

motion, Plaintiff relies on his Complaint filed in this action, the accompanying Declaration of

Ilya Feoktistov, Esq., and the accompanying memorandum of law.

       WHEREFORE, Plaintiff respectfully requests the Court grant his Motion and issue a

preliminary injunction pending a decision on the merits of Plaintiff’s claims in this matter.

       DATED: November 6, 2023

                                                   Respectfully submitted,
                                                   John Doe,
                                                   By his Attorney,




                                                  Ilya I. Feoktistov, Esq.
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                                    SERVICE CERTIFICATE

I, Ilya Feoktistov, counsel for Plaintiff John Doe in the above-captioned matter, hereby certify
that on November 8, 2023, I served a true and accurate copy of the foregoing document on the
parties of record by filing electronically and by email on counsel for the University of
Massachusetts, the Trustees of the University of Massachusetts, Hannah Monbleau, Kate Legee,
Esmeralda Levesque, and Adam Dunbar at:
Michael Hoven, MHoven@umassp.edu
Maria Sheehy, MSheehy@umassp.edu




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             Plaintiff’s Motion for a Preliminary Injunction




                                Ilya I. Feoktistov, Esq.




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